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               HILLSSOROUGH COUNTY SUPERIOR COURT
                         NORTHERN DISTRIC T

                            300 Chestnut Street
                          Manchester, N .H . 0310 1
                                 (603) 669-741 0




                                 RECEIPT OF WRI T


Date : April 23, 200 7

DOCKET NUMBER :   07-C- 0 23 7

William Donald Hilton vs .           Jeanne M . Charest, ARNP
                                     Coos County Family Health Serv . Inc .
                                     Androscoggin Valley Hospita l

     The writ in the above-captioned matter was filed with the
Clerk of this Court on : April 19, 200 7

     The Plaintiff or his/her attorney is to attach a copy
of this receipt to identical copies of the original writ
and deliver them to the Sheriff cv other legally authorized
entity for service on each named defendant . Sufficient
copies shall be provided to allow for a service copy for
each named defendant and a copy for each officer completing
service to complete the return . The return copies shall be
filed with the court in accordance with Superior Court Rule 3 .

                                           By Order of the Court

                                           John M . Safford, Clerk

JMS/cmp

cc : Mark A . Abramson, Esq .




                                                                      EXHIBIT A
                            Case 1:07-cv-00292-PB Document 1-1 Filed 09/13/07 Page 2 of 5
                                t4E '* trz#ae zrf NOV rtrxnvs4ir.e
                                                                    SUPERIOR'COUR T
, iILLSBOROUGH COUNTY                                                                                                                                   ( ) COURT
NORTHERN DISTRICT                                                                                                                                       (XX) JUR Y
                                                                                                           Jeanne M . Charest, ARNP
                                                                     WRIT OF SUMMON S                      133 Pleasant St ., Berlin, NH 0357 0

 William Donald Hilton                                                                                     Coos County Family Health Services, Inc
 172 Aisace Street                                                                                         133 Pleasant St ., Berlin, NH 0357 0
 Manchester, NH 03102
                                                                                                           Androscoggin Valley Hospita l
                                                                                        v.                 59 Page Hill Road, Berlin, NH 0357 0




The Sheriff or Deputy of any County is ordered to summon each defendant to file a written appearance with the
Superior Court at the address listed below by the return day of this writ which is the first Tuesday of Augus t
   2007                                                                                                                                                    MONTH
         YEAR


           The PLAINTIFF(S) state(s) :


                                         PLEASE SEE ATTACHED

                                                                                                     A1RVE CO~ ~~5~
                                                                                                                           S
                                                                                                                             -jj~skf f


 and the Plaintiff(s) claim(s) damages within the jurisdictional limits of this Cou rt.
 Mark A . Abramson, Esq . and Holly B . Haines, Esq .
 on behalf of the plaintiff . William Donald Hilto n                                                                                  4/17/0 7
  INDORSER ( sq9n and print name)                                                                                                  DATE OF WRI T

                                                                       NOTICE TO THE DEFENDANT
 The PiaintiFl listeu above nas begun iegai acunn anamst you You do not have to physical!y appear in Coun on tne return oay !isted above since there will be no nearing
 on trial oay However it you intend to conlas! this manar. you o• your attorney mus:'Ile a wrinen appearance form with the C!erk'n Oflice by that tlata . (Appearance !orrns
 may be obtained irom the C!erKS Office i You will then receive notlce fron the Coun It ali proceed!ngs concerning this case It'}ou fail to lile an appearan^.e by the -P.RRr
 dayiutlgn',un' wi ll ne entered against you ier a sum of money wnich you Will then be ooliga!ed to pa y




Witness, Robe rt J . Lynn, Chief Justice, Superior Cou rt.
 ~-- .                                                                              :
                                                                                             ~~CPi V
                                                                                        I~ $ATURE OF PLAINTIFF/ATTO NEY
                                                                                                                         z ~..~~~' -~      /
     r                                                                                        Mark A . Abramson, Esq ./Holly B . Haines, Esq .
  ohn M. Safford, Cler k                                                                     PRINTE PED NAME
 NH Superior Court Hillsborough County               Abramson, Brown & Dugan
                                                      1819 Elm Street
 Northern District
                                                    ADDRESS
 300 Chestnut St
 Manchester NH 03101-2490                            Manchester, NH 03104                                                                       603-627-1819
                                       SERVICE COPY
 (603) 669-7410                                                                                                                                PHONE
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                                             COUNT I
                         (Medical Negligence -Jeanne Charest, ARNP)

         IN A PLEA OF THE CASE for that during February and March 2003, the plaintiff,
William Donald Hilton, then a 15 year old boy, presented to Coos County Family Health
Services, Inc . for treatment of ongoing fevers, nausea, vomiting and right sided abdominal pain
and came under the care of defendant Jeanne Charest, ARNP ; IT WAS THEN AND THERE
THE DUTY OF THE DEFENDANT, Jeanne Charest, ARNP, to provide medical care in
accordance with accepted stan dards of reasonable professional practice among similar health care
providers; YET, NEVERTHELESS THE DEFENDANT NEGLIGENTLY FAILED TO MEET
SUCH STANDARD in that she, among other things, failed to properly assess and diagnose the
plaintiff's condition; failed to order necessary and appropriate diagnostic tests ; failed to admit
Mr. Hilton to the hospital for evalua tion and treatment ; failed to obtain appropriate consults with
specialists ; and otherwise failed to ensure the safety of her patieni ; AS A RESULT OF THE
AFORESAID BREACHES OF DUTY, Mr . Hilton suffered a ruptured appendix an d subsequent
peritoneal infection requiring surgery an d extended hospitalization ; AS A FURTHER RESULT,
Mr . Hilton suffered extensive internal scarring resulting in urethral stricture, he requires daily
medication and self-catheterization, and he will require quarterly urethral dilation for the rest of
his life; he has experienced, and will continue to experience, physical pain and emotional
suffering, loss of enjoyment of life, loss of opportunity, loss of earnings and earning capacity,
loss of a better outcome an d he has incurred and will incur substantial expenses for his care an d
treatment ; ALL TO THE DAMAGE OF THE PLAINTIFF, as he says, in an amount sufficient to
compensate him for his losses together with interest and costs and within the jurisdic tional limits
of this Court .


                                           COUNT II
               (Vicarious Liability - Coos County Family Health Services, Inc. )

        IN A PLEA OF THE CASE for that the plaintiffs incorporate by reference each of the
allegations contained in Count I; at all times relev ant, Jeanne Charest, ARNP, was an agent,
employee or co-joint venturer with defendant Coos County Family Health Serv ices, Inc., acting
within the scope of her agency, employment or joint venture ; AS A RESULT, the defend an t,
Coos County Family Health Services, Inc., is vicariously li able for her negligence as set forth
above; ALL TO THE DAMAGE OF THE PLAINTIFF as he says, in an amount sufficient to
compensate him for his losses together with interest and costs and within the jurisdictional limits
of this Court .

                                            COUNT III
                      (Vicarious Liability - Androscoggin Valley Hospital )

        IN A PLEA OF THE CASE for that the -plaintiffs incorporate by reference each of the
allegations contained in Count I ; at all ti mes relevant, Jeanne Charest, ARNP, was an agent,
employee or co-joint venturer with defend ant Androscoggin Valley Hospital, acting within the
scope of her agency, employment or joint venture ; AS A RESULT, the defendant, Androscoggin
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Valley Hospital, is vicariously liable for her negligence as set forth above; ALL TO THE
DAMAGE OF THE PLAINTIFF as he says, in an amount sufficient to compensate him for his
losses together with interest and costs and within the jurisdictional limits of this Court .

                                              COUNT IV
              (Negligent Supervision -Coos County Family Health Services, Inc.)

        IN A PLEA OF THE CASE for that during February and March 2003, the plaintiff,
William Donald Hilton, then a 15 year old boy, presented to Coos County Family Health
Services, Inc . for treatment of ongoing fevers, nausea, vomiting and right sided abdominal pain ;
IT WAS THEN AND THERE THE DUTY OF THE DEFENDANT, Coos County Family
Health Services, Inc ., acting through its agents, employees and co-joint venturers, to properly
supervise its medical care providers and staff and to ensure that its practitioners possessed the
knowledge and exercised the degree of sk-ill that the average and prudent practitioners should
under the same or similar circumstances to assure the quality of patient care being provided ;
YET, NEVERTHELESS, the defendant, Coos County Family Health Services, Inc ., acting
through its agents, employees and co-joint venturers, failed in the performance thereof in that it
failed to supervise its medical care providers and staff in their work to ensure that its staff could
properly diagnose the plaintiff's condition, refer the plaintiff for additional necessary and
 appropriate diagnostic tests, refer the plaintiff for additional consideration, consultation, care and
treatment, and it otherwise failed to exercise due care ; AS A RESULT OF THE AFORESAID
BREACHES OF DUTY, Mr . Hilton suffered a ruptured appendix and subsequent peritoneal
infection requiring surgery and extended hospitalization ; AS A FURTHER RESULT, Mr . Hilton
 suffered extensive internal scarring resulting in urethral stricture, he requires daily medication
 and self-catheterization, and he will require quarterly urethral dilation for the rest of his life ; he
has experienced, and will continue to experience, physical pain and emotional suffering, loss of
 enjoyment of life, loss of opportunity, loss of earnings and earning capacity, loss of a better
 outcome and he has incurred and will incur substantial expenses for his care and treatment ; ALL
TO THE DAMAGE OF THE PLAINTIFF, as he says, in an amount sufficient to compensate
him for his losses together with interest and costs and within the jurisdictional limits of this
 Court.

                                          COUNT V
                      (Medical Negligence - Androscoggin Valley Hospital)

         IN A PLEA OF THE CASE for that during February and March 2003, the plaintiff,
William Donald Hilton, then a 15 year old boy, sought treatment of ongoing fevers, nausea,
vomiting and ri ght sided abdominal pain and came under the care of defend ant Androscoggin
Valley Hospital; IT WAS THEN AND THERE THE DUTY OF THE DEFENDANT
HOSPITAL, to provide medical care in accordance with accepted st an dards of reasonable
professional practice among similar health care providers ; YET, NEVERTHELESS THE
DEFENDANT NEGLIGENTLY FAILED TO MEET SUCH STANDARD in that it among other
things, failed to properly assess and diagnose the plaintiff's condition ; failed to order necessary
an d approp ri ate diagnostic tests ; failed to admit Mr . Hilton for evaluation and treatment; failed to
provide appropriate consults with specialists ; failed to provide approp riate monitoring an d care
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upon admission, and otherwise failed to ensure the safety of the patient; AS A RESULT OF THE
AFORESAID BREACHES OF DUTY, Mr . Hilton suffered a ruptured appendix and subsequent
peritoneal infection requiring surgery and extended hospitalization ; AS A FURTHER RESULT,
Mr . Hilton suffered extensive internal scarring resulting in urethral stri cture, he requires daily
medication and self-catheterization, and he wi ll require quarterly urethral dilation for the rest of
his life; he has experienced, and will continue to experience, physical pain and emotional
suffering, loss of enjoyment of li fe, loss of opportunity, loss of earnings and earning capacity,
loss of a better outcome and he has incurred and will incur substantial expenses for his care and
treatment; ALL TO THE DAMAGE OF THE PLAINTIFF, as he says, in an amount sufficient to
compensate him for his losses together with interest and costs and within the jurisdictional limits
of this Court .

                                          COUNT V I
                            (RSA 507-E:2, III Claim - All Defendants )

        IN A PLEA OF THE CASE for that the plaintiff incorporates by reference each of the
allegations contained in Counts I through IV ; regardless of the ch ances of surv ival or recovery
from his underlying condition, the negligence of the defendants proximately caused William
Donald Hilton to suffer physical pain and emotional distress, loss of enjoyment of life, an d
proximately caused him to incur medical expenses and other costs ; ALL TO THE DAMAGE OF
THE PLAINTIFF in an amount sufficient to compensate him for his losses, together with interest
and costs, and within the jurisdictional limits of this cou rt.
